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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA

                             CASE NO. 4:18cv527-MW/CAS

JIM BONFIGLIO CAMPAIGN, and
JIM BONFIGLIO, individually as an
elector of House District 89

                     Plaintiffs,
vs.

KEN DETZNER, in his official
capacity as Florida Secretary of State,
and the PALM BEACH COUNTY
CANVASSING           BOARD,        and
SUSAN M. BUCHER, in her official
capacity as Palm Beach County
Supervisor of Elections,

                     Defendants.
                                            /

       PLAINTIFF’S MOTION FOR LEAVE TO FILE REPY IN SUPPORT OF
             EMERGENCY MOTION FOR INJUNCTIVE RELIEF

       Pursuant to Local Rules 7.1 (I) and (G)(5) of the United States District Court for the

Northern District of Florida, Plaintiffs, Jim Bonfiglio Campaign and Jim Bonfiglio,

individually, respectfully request that the Court enter an Order permitting them to file a

reply memorandum of no more than 18 pages in support of Plaintiff’s November 12, 2018

Emergency Motion for Injunctive Relief to Extend Certification Deadlines as Mandated

by Florida Statutes §102.141 and §102.112 and to Proceed to the Machine and Manual
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Recounts of the Florida House of Representative District 89 Election. [DE 1, Att. #1], and

avers as follows:

    1. On November 12, 2018 this matter was initial filled in the Second Judicial Circuit

        for Leon County, Florida in case number 2018-CA-002408.

    2. On November 13, 2018, after a hearing held before the Hon. Karen Gievers, this

        matter was removed to federal court by named defendant, Ken Detzner. [DE1]

    3. This Court entered an amended order requring expedited response to Plaintiffs’

        motion for preliminary injunction by 5:00 p.m. on November 14, 2018. [DE4].

    4. Prior to the Court’s mandated deadline, responses were filed on behalf of

        Defendant Susan M. Bucher and the Palm Beach Canvassing Board [DE28], Ken

        Detzner (“Detzner”) [DE30], and intervening defendant National Republican

        Senatorial Committee (“NRSC”) [DE29].

    5. Defendant, Detzner, and intervening defendant, NRSC, erroneously argue that

        Plaintiffs are challenging the constitutionality of the Florida Statutes in question.

        They also mis the Florida Statutes in question to incorrectly apply the “imminent

        harm” prong of the test before this Court.

    6. The unique time restraints and importance of this case present extraordinary

        circumstances which should allow for Plaintiffs reply.

    7. If Plaintiffs are granted leave to reply, their memorandum will very briefly

        respond to these claims and will highlight the unconstitutional application of the


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        Florida Statutes in question and the imminent threat of harm to the voters in the

        Florida House of Representatives, District 89. Attached as Exhibit A is Plaintiffs’

        proposed reply memorandum

        WHEREFORE, Plaintiffs, the Jim Bonfiglio Campaign, and Jim Bonfiglio

individually, request that the Court grant this motion and enter and Order permitting

them to file the attached reply memorandum in support of their Emergency Motion.

                               LOCAL RULE 7.1(F) CERTIFICATION

        Counsel for Plaintiffs, Jason B. Blank, Esq., certifies that this motion contains 393

words.




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing was electronically noticed

through the CM/ECF system to all counsel of record, on this 14th day of November, 2018.

                                 Respectfully submitted,

          /s/ Jason B. Blank                        /s/ Michael Ufferman
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